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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

DEFENSE DISTRIBUTED ET AL.,          §
                                     §
     Plaintiff,                      §
                                     §                C.A. NO. 1:15-CV-00372-RP
v.                                   §                JURY DEMANDED
                                     §
UNITED STATES DEPT. OF STATE, ET AL, §
                                     §
     Defendants.                     §



[PROPOSED] ORDER GRANTING REQUEST FOR AN EMERGENCY HEARING BY
   INTERVENORS THE BRADY CAMPAIGN TO PREVENT GUN VIOLENCE,
    EVERYTOWN FOR GUN SAFETY ACTION FUND, INC. AND GIFFORDS

       The Court, having considered Intervenors The Brady Campaign to Prevent Gun Violence,

Everytown for Gun Safety Action Fund, Inc., and Giffords’ Emergency Motion for Hearing on

Temporary Restraining Order and Preliminary Injunction, finds that Intervenor’s motions should

be GRANTED.

       IT IS SO ORDERED that

       The Court will hold a hearing on Intervenors’ Motion for Preliminary Injunction and

Temporary Restraining Order on ____________________, July ______, 2018 at ________

a.m./p.m.



                                                                _________________________
                                                                       Judge Robert L. Pitman
                                                                   United States District Court
                                                                    Western District of Texas
